883 F.2d 69Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Stanley Bernard HOLMES, Petitioner-Appellant,v.Frank H. HORTON, Jr., Attorney General of South Carolina,,Respondents-Appellees.
    No. 89-7579.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 10, 1989.Decided Aug. 14, 1989.
    
      Stanley Bernard Holmes, appellant pro se.
      Donald John Zelenka, Office Of The Attorney General of South Carolina, for appellees.
      Before WIDENER, K.K. HALL, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Stanley Bernard Holmes noted this appeal outside the 30-day period established by Fed.R.App.P. 4(1)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."    Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore deny a certificate of probable cause to appeal and dismiss the appeal.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    